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 1   LAWRENCE G. BROWN
     Acting United States Attorney
 2   KAREN A. ESCOBAR
     Assistant U.S. Attorney
 3   2500 Tulare Street
     Fresno, California 9372l
 4   Telephone: (559) 497-4000

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 8                 IN THE UNITED STATES DISTRICT COURT FOR THE

 9                           EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,     )           1:06-cr-0247 AWI
                                   )
12                  Plaintiff,     )           ORDER RE:
                                   )           GOVERNMENT’S REQUEST FOR
13                                 )           INDEPENDENT MEDICAL EXAMINATION
               v.                  )
14                                 )
     GUADALUPE AGUILAR BARRON,     )
15                                 )
                    Defendant.     )
16   ______________________________)

17        Having considered the defendant’s notice of filing of his

18   medical expert witness’ psychiatric evaluation of the defendant

19   and the government’s request for an independent medical

20   examination of the defendant,

21        IT IS HEREBY ORDERED THAT before the next court hearing on

22   June 22, 2009, in this matter, the defendant shall submit to a

23   medical examination of the government’s medical expert at a

24   mutually convenient time for the parties.

25   IT IS SO ORDERED.

26   Dated:   May 22, 2009                    /s/ Anthony W. Ishii
     0m8i78                          CHIEF UNITED STATES DISTRICT JUDGE
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